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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
     Plaintiff,                                    §
                                                   §
v.                                                 §              2:23-CR-095-Z-BR-(1)
                                                   §
SHATASHA YUVETTE DEAN                              §
                                                   §
     Defendant.                                    §

                   ORDER ADOPTING REPORT AND RECOMMENDATION
                           CONCERNING PLEA OF GUILTY

          On July 22, 2024, the United States Magistrate Judge issued a Report and Recommendation

Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant

Shatasha Yuvette Dean filed no objections to the Report and Recommendation within the fourteen-

day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters

of record in the above referenced cause—including the elements of the offense, Factual Resume, Plea

Agreement, and Plea Agreement Supplement—and thereby determined that the Report and

Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by

the United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of

Defendant Shatasha Yuvette Dean was knowingly and voluntarily entered; ACCEPTS the guilty plea

of Defendant Shatasha Yuvette Dean; and ADJUDGES Defendant Shatasha Yuvette Dean guilty of

Count Three in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Sentence will be imposed in

accordance with the Court’s sentencing scheduling order.


          BACKGROUND

          On July 22, 2024, Defendant pleaded guilty to Count Three of the Indictment, which charges

a violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), that is Possession with Intent to Distribute

Methamphetamine. ECF No. 60. The Honorable Magistrate Judge Lee Ann Reno recommended that
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the plea be accepted. Id. Having accepted Magistrate Judge Reno’s recommendation, Defendant has

now been adjudged guilty of an offense for which a maximum term of imprisonment of ten years or

more is prescribed in the Controlled Substances Act. 21 U.S.C. § 801, et. seq.

        ANALYSIS

        Title 18 United States Code, Section 3143(a)(2) mandates detention after a guilty plea if the

offense of conviction is among those listed in 18 U.S.C. § 3142(f)(1)(A)–(C). Section 3142(f)(1)(C)

requires detention for a defendant adjudged guilty of “an offense for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. § 801,

et seq.), the Controlled Substances Import and Export Act (21 U.S.C. § 951, et seq.), or chapter 705

of title 46.”

        The offense here, a violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C), is an offense for

which a maximum term of imprisonment of ten years or more is prescribed in the Controlled

Substances Act. 21 U.S.C. § 801, et. seq. Thus, the offense subjects Defendant to mandatory detention

under Section 3143(a)(2). United States v. Wright, No. 3:16-CR-373-M (30), WL 1899289, at *5

(N.D. Tex. Apr. 19, 2018).

        Section 3143(a)(2) details two exceptions to mandatory detention for defendants awaiting

imposition or execution of a sentence. The defendant must be detained unless “(A)(i) the judicial

officer finds there is a substantial likelihood that a motion for acquittal or new trial will be granted;

or (ii) an attorney for the Government has recommended that no sentence of imprisonment be imposed

on the person; and (B) the judicial officer finds by clear and convincing evidence that the person is

not likely to flee or pose a danger to any other person or the community.” Id. Additionally, a person

otherwise “subject to detention under Section 3143(a)(2), and who meets the conditions of release set

forth in Section 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions, by the

judicial officer, if it is clearly shown that there are exceptional reasons why such person’s detention

would not be appropriate.” 18 U.S.C. § 3145(c).


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       CONCLUSION

       Having found Defendant’s offense is subject to mandatory detention under 18 U.S.C.

§ 3143(a)(2), the Court refers this matter to the Honorable Magistrate Judge Lee Ann Reno to

determine whether Section 3143(a)(2)’s or Section 3145(c)’s exceptions are satisfied


       SO ORDERED, August 14, 2024.


                                                     _______________________________
                                                     MATTHEW J. KACSMARYK
                                                     UNITED STATES DISTRICT JUDGE




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